Case 6:21-cv-00057-ADA Document 564 Filed 03/02/21 Page 1 of 9

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

WACO DIVISION
VLSI TECHNOLOGY LLC,
Plaintiff,
Vv. Case No. 6:21-cv-00057-ADA
INTEL CORPORATION,
Defendant.

 

 

JURY VERDICT FORM

  

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Case 6:21-cv-00057-ADA Document 564 Filed 03/02/21 Page 2 of 9

JURY VERDICT FORM

When answering the following questions and filling out this Verdict Form,
please follow the directions provided throughout the form. Your answer to each
question must be unanimous. Some of the questions contain legal terms that are
defined and explained in detail in the Jury Instructions. Please refer to the Jury
Instructions if you are unsure about the meaning or usage of any legal term that
appears in the questions below.

As used herein, “VLSI” means VLSI Technology, LLC, and “Intel”
means “Intel Corporation.” As used herein, “’373 Patent” refers to U.S. Patent

No. 7,523,373 and “’759 Patent” refers to U.S. Patent No. 7,725,759.
Case 6:21-cv-00057-ADA Document 564 Filed 03/02/21 Page 3 of 9

We, the jury, unanimously agree to the answers to the following

questions and return them as our verdict in this case:

I

LITERAL INFRINGEMENT

Directions — Question Nos. 1 & 2

In answering the Questions below, please check “Yes” or “No” for each listed
asserted claim in the space provided.

 

 

Question No. 1: Has VLSI proven by a preponderance of the
evidence that Intel has literally infringed the following asserted claims of

the ’373 Patent? “Yes” is in favor of VLSI, and “No” is in favor of Intel.

°373 Patent

Claim 1: Yes 4 No _
Claim 5: Yes “/ No _
Claim 6: Yes a No.
Claim 9: Yes_ 7% No___
Claim 11: Yes i No

Question No. 2: Has VLSI proven by a preponderance of the
evidence that Intel has literally infringed the following asserted claims of

the ’759 Patent? “Yes” is in favor of VLSI, and “No” is in favor of Intel.

°759 Patent
Claim 14: Yess Noo a
Claim 17: Yes = No _ ~#
Claim 18: Yes = No Ww
Claim 24: Yes No A.

 

 
Case 6:21-cv-00057-ADA Document 564 Filed 03/02/21 Page 4 of 9

If you have selected “No” for any claim of the ’759 Patent listed in
Question 2, please proceed to Question No. 3 for those claims only.

If you have selected “Yes” for all claims of the ’759 Patent in Question 2,
do not answer Question 3. Please proceed directly to Question No. 4.

Il. INFRINGEMENT UNDER THE DOCTRINE OF EQUIVALENTS
Directions — Question No. 3

In answering the Question below, please check “Yes” or “No” for each listed
asserted claim in the space provided.

 

Question No. 3: Answer the following question for each claim of
the °759 Patent for which you answered “No” in Question 2 above. Do
not answer and leave the form blank for any claim where you answered

“wes” in Question No. 2 and found that there was infringement.

Has VLSI proven by a preponderance of the evidence that Intel has
infringed the following asserted claims of the ’759 Patent under the

doctrine of equivalents? “Yes” is in favor of VLSI, and “No” is in favor

of Intel.
°759 Patent
Claim 14: Yes ee No
Claim 17: Yes “ No
Claim 18: Yes “ No
Claim 24: Yes “ No

 

 

 

Please proceed to Question No. 4.
Case 6:21-cv-00057-ADA Document 564 Filed 03/02/21 Page 5 of 9

TW. WILLFUL INFRINGEMENT

Directions — Question No. 4

In answering the Question below, please check “Yes” or “No” for each listed
asserted patent in the space provided.

 

Question No. 4: Answer the following question for each patent for
which you found at least one claim infringed in Questions 1, 2 and/or 3
above. Has VLSI proven by a preponderance of the evidence that Intel’s
infringement was willful? “Yes” is in favor of VLSI, and “No” is in favor

of Intel.

°373 Patent: Yes No ri

 

 

°759 Patent: Yes No fe

 

Please proceed to Question No. 5.
Case 6:21-cv-00057-ADA Document 564 Filed 03/02/21 Page 6 of 9

IV. VALIDITY

Directions — Question No. 5

In answering the Question below, please check “Yes” or “No” for each listed
asserted claim of the ’759 Patent in the space provided. This Question is relevant
to the ’759 Patent only.

 

Question No. 5: Has Intel proven by clear and convincing evidence
that the following asserted claims of the ’759 Patent are invalid for
anticipation by the Yonah Processor alone? “No” is in favor of VLSI, and

“Yes” is in favor of Intel.

*759 Patent
Claim 14: Yes No.
Claim 17: Yes, No 74
Claim 18: Yes No
Claim 24: Yes No a

 

 

 

Please proceed to Question Nos. 6-7.
Case 6:21-cv-00057-ADA Document 564 Filed 03/02/21 Page 7 of 9

V. DAMAGES
Directions — Question Nos. 6 & 7

In answering the Questions below, please provide a dollar amount in the blank
spaces. :

 

Question No. 6: Answer the following question if there is at least

one claim of the ’373 Patent for which you answered “Yes” in Question 1.

What is the amount of damages you find VLSI has proven by a
preponderance of the evidence for Intel’s past infringement of the ’373

Patent?

$___ |, 500,000, aaa

Question No. 7: Answer the following question if there is at least
‘| one claim of the ’759 Patent for which you answered “Yes” in either

Question 2 or Question 3, and “No” in Question 4.
What is the amount of damages you find VLSI has proven by a

preponderance of the evidence for Intel’s past infringement of the °759

Patent?

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Case 6:21-cv-00057-ADA Document 564 Filed 03/02/21 Page 8 of 9

 

 

Question No. 8: Is the total amount of damages you found in
Questions 6 & 7, 1) a running royalty in the form of a lump sum for past

damages only or 2) a lump sum for all damages?

1) Running royalty in the form of a
lump sum for past damages only [

-OR-

2) Lump sum for all damages [ fy

 

 
Case 6:21-cv-00057-ADA Document 564 Filed 03/02/21 Page 9 of 9

You have now reached the end of the verdict form and should review it to
ensure it accurately reflects your unanimous determinations. After you are
satisfied that your unanimous answers are correctly reflected above, your Jury
Foreperson should then sign and date this Verdict Form in the spaces
below. Once that is done, notify the Court Security Officer that you have
reached a verdict. The jury foreperson should retain possession of the verdict

form and bring it when the jury is brought back into the courtroom.

I certify that the jury unanimously concurs in every element of the above

verdict.

SIGNED this _Z day of March, 2021.

(Dew Ge

JURY. FOREPERSON
